Case 6:17-cv-00168-RWS Document 2 Filed 03/20/17 Page 1 of 27 PageID #: 47

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                                                                                Lois Rogers. Smith County District Clerk
                                                                                Reviewed By; Marilu Martinez

                                       17-0353-B
                              CAUSE NO. ___________________

     HOLLY TREE COUNTRY CLUB LLC,                    §              IN THE JUDICIAL COURT OF
                                                     §
           Plaintiff,                                §
                                                     §
     v.                                              §
                                                     §
     CENTRAL MUTUAL INSURANCE                        §                  SMITH COUNTY, TEXAS
     COMPANY,                                        §
     JHSC ENTERPRISES, LLC D/8/A JOHN T.             §
     PARKER CLAIMS OR PARKER &                       §
     ASSOCIATES, LLC, AND AARON                      §
     MARTIN,                                         §
                                                     §
          Defendants.                                §                  ____ DISTRICT COURT



                        PLAINTIFF'S ORIGINAL PETITION, JURY DEMAND,
                               AND REQUEST FOR DISCLOSURE


     TO THE HONORABLE JUDGE OF SAID COURT:

            COMES NOW, HollyTree Country Club, LLC ("Plaintiff''), and files Plalntifrs Original

     Petition, Jury Demand, and Request for Disclosure, complaining of Central Mutual Insurance

     Company ("Central Mutual"), JHSC Enterprises, LLC D/B/A Jolm T. Parker Claims or Parker &

     Associates ("John T. Parker") and Aaron Martin ("Martin") (or collectively "Defendants") and for

     cause of action, Plaintiff respectfully shows the following:

                                    DISCOVERY CONTROL PLAN

     l.     Plaintiff intends to conduct discovery under Level 3, Texas Rules of Civil Procedure 190.4

            and !69.

                                                 PARTIES

     2.     Plaintiff, Holly Tree Country Club, LLC, is the insured whose property address is 6700

            Hollytree Drive, Tyler, Texas 75703-5731.

     3.     Defendant, Central Mutual Insurance Company, is an Ohio insurance company duly
Case 6:17-cv-00168-RWS Document 2 Filed 03/20/17 Page 2 of 27 PageID #: 48




          authorized by the Texas Department oflnsurance to engage in the business of insurance in

          the State of Texas. Plaintiff requests service of citation upon Central Mutual Insurance

          Company through its registered agent for service: C/0 Steven Mansfield, 7301 State

          Highway 161, Suite 320, Irving, Texas 75039-2820. Plaintiff requests service at this

          time.

     4.   Defendant Aaron Martin is an individual resident of Longview, Texas. Martin is duly

          authorized as an adjuster in the State of Texas through the Texas Department of Insurance.

          Martin may be served with citation at the address listed with the Texas Department of

          Insurance: 8 Alice Circle, Longview, Texas 75605-1439. Plaintiff requests service at this

          time.

     5.   Defendant JHSC Enterpdses, LLC D/B/A John T. Parker Claims or Parker & Associates,

          LLC is a domestic third party administrator licensed with the Texas Department of

          Insurance. Jolm T. Parker may be served with citation at the address listed with the Texas

          Department of Insurance: C/0 Brent Savage, 2306 Castle Rock Road, Carrollton,

          Texas 75007-2012. Plaintiff requests service at this time.

                                           JURISDICTION

     6.   The Court has jurisdiction over Central Mutual because this Defendant engages in the

          business of insurance in the State of Texas, and the causes of action arise out of Central

          Mutual's business activities in the State ofTexas, including those in Smith County, Texas,

          with reference to this specific case.

     7.   The Court has judsdiction over Martin because this Defendant engages in the business of

          adjusting insurance claims in the State of Texas, and the causes of action arise out of this



                                                   2
Case 6:17-cv-00168-RWS Document 2 Filed 03/20/17 Page 3 of 27 PageID #: 49




           Defendant's business activities in the State of Texas, including those in Smith County,

           Texas, with reference to this specific case.

    8.     The Court has jurisdiction over John T. Parker because tltis Defendant engages in the

           business of adjusting insurance claims in the State of Texas as a third party administrator,

           and the causes of action arise out of this Defendant's business activities in the State of

           Texas, including those in Smith County, Texas, with reference to this specific case.

                                                 VENUE

    9.     Venue is proper in Smith County, Texas because the insured property is located in Smith

           County, Texas, and all or a substantial part of the events giving rise to this lawsuit occurred

           in Smith County, Texas. TEX. CIV. PRAC. & REM. CODE§ 15.032.

                                                  FACTS

    10.    Plaintiff asserts claims for fraud, breach of contract, violations of sections 541 and 542 of

           the Texas Insurance Code, negligence, gross negligence, negligent hiring, and violations

           of tl1e Texas DTPA.

    II.    Plaintiff owns a Central Mutual Insurance Company commercial insurance policy, number

           9597413 ("the Policy"). At all relevant times, Plaintiff was the insured for the prentises

           located at 6700 Hollytree Drive, Tyler, Texas 75703-5731 ("the Property").

     12.   Central Mutual or its agent, sold the Policy, insuring the Property, to Plaintiff. Central

           Mutual and/or its agent represented to Plaintiffthat the Policy included wind and hailstorm

           coverage for damage to Plaintiffs business. Central Mutual has refused the full extent of

           that coverage currently owed to Plaintiff.

    13.    When Plaintiff negotiated the premium amount, Central represented that the Policy



                                                     3
Case 6:17-cv-00168-RWS Document 2 Filed 03/20/17 Page 4 of 27 PageID #: 50




          Plaintiff purchased provided coverage for hail and wind losses. Unfortnnately, during the

          claims process, Central Mutual wrongfully used the following exclusionary language in

          the Policy to deny coverage:

                 B. Exclusions

                 2. We will not pay for loss or damage caused by or resulting from any of
                 the following:
                         d.{l) Wear and tear;
                         (4) Settling, cracking, shrinking or expansion;

                 3. We will not pay for loss or damage caused by or resulting from any of
                 the following, 3.a. through 3.c. But if an excluded cause of loss that is
                 listed in 3.a. through 3.c. results in a Covered Cause of Loss, we will pay
                 for the loss or damage caused by that Covered Cause of Loss.

                 c. Faulty, inadequate or defective:

                 ( l) Planning, zoning, development, surveying, siting;

                 (2) Desigu, specifications, workmanship, repair, construction, renovation,
                 remodeling, grading, compaction;

                 (3) Materials used in repair, construction, renovation or remodeling; or

                 (4) Maintenance;

                 of part or all of any property on or off the described premises.



                 I. We will not pay for loss of or damage to property, as described and
                 limited in tllis section. In addition, we will not pay for any loss that is a
                 consequence of loss or damage as described and linaited in this section.

                 c. The interior of any building or structure, or to personal property in the
                 building or structure, caused by or resulting from rain, snow, sleet, ice,
                 sand, dust, whether drive by wind or not, unless:

                 (I) The building or structure first sustains damage by a Covered Cause of
                     Loss to its roof or walls through which the rain, snow, sleet, ice, sand,
                     or dust enters, or;


                                                    4
Case 6:17-cv-00168-RWS Document 2 Filed 03/20/17 Page 5 of 27 PageID #: 51




                     (2) The loss or damage is caused by or results from thawing of snow,
                         sleet, or ice on the building or structure. See Plaintiffs Policy.

     14.   Ultimately, based on wrongfully applied provisious in the Policy, Central Mutual has

           refused substantive coverage which includes, but is not limited to, replacement of the roof,

           as well as stonn-damaged portions of the interior.

     15.   On or about February 20,2015, the Property sustained extensive damage resulting from a

           severe stom1 that passed through the Tyler, Smith County, Texas area. The hail and

           windstonn compromised the integrity of the roof, allowing water to damage the interior.

     16.   In the aftemmth of the wind and hailstonn, Plaintiff submitted a claim to Central Mutual

           against the Policy for damage to the Property. Central Mutual assigned claim number

           27067 to Plaintiffs claim.

     17.   Plaintiff asked Central Mutual to cover the cost of damage to the Property pursuant to the

           Policy.

     18.   Damaged areas of the property include, but arc not limited to the roof, interior and exterior.

     19.   Central Mutual assigned or hired Martin and John T. Parker to adjust the claim.

              a. Martin and John T. Parker had a vested interest in undervaluing the clain1s assigned

                     to them by Central Mutual in order to maintain their employment or gain future

                     employment. The disparity in the number of damaged items in their

                     reports/assessments compared to that of Plaintiffs is evidence of fraud on the part

                     of Martin and Jolm T. Parker.

               b. Martin and John T. Parker made misrepresentations to Plaintiff during their

                     inspection. Martin and Jolm T. Parker used their expetiise to fabricate plausible



                                                      5
Case 6:17-cv-00168-RWS Document 2 Filed 03/20/17 Page 6 of 27 PageID #: 52




                  explanations for why visible damage to Plaintiffs Prope1ty would not be covered

                  under the policy. Such misrepresentations include damage to the Property owing

                   from wear and tear and damage of a type not consistent with the type of claim that

                  was made.

     20.   Central Mutual, through its agents, namely Martin and John T. Parker, conducted a

           substandard and improper inspection and adjustment of the Property, which yielded grossly

           inaccurate and unrealistic assessments of the cause, extent, and dollar amount of damage

           to the Property.

     21.   The initial adjustment of the claim occurred on or around November 18, 2015. After

           investigating the Prope1ty, John T. Parker and/or agents of John T. Parker "were not certain

           that the roof had sustained wind or hail damage," despite being sanctioned as a qualified

           licensed adjuster/adjusting company by the Texas Department of Insurance. See Central

           Mutual's Denial Letter. As a licensed adjuster/adjusting company, Jolm T. Parker and/or

           agents of John T. Parker should have been able to give a more defmitive analysis of

           Plaintiffs damages.

     22.   On or about January 11, 2016, Central Mutual retained the services of engineering

           company Rimkus Consulting Group, Inc. ("Rimkus") to determine the cause and extent of

           damage. Rimkus allegedly found no indication of wind or hail damage to the Property.

     23.   On or about May 5, 2016, are-inspection of the Property was perfonned by Martin and

           John T. Parker. However, Martin allegedly observed the same conditions at the first

           adjuster, despite being duly licensed in the state of Texas.

     24.   As detailed herein, Defendants failed to assess damages to Plaintiffs Property in a



                                                     6
Case 6:17-cv-00168-RWS Document 2 Filed 03/20/17 Page 7 of 27 PageID #: 53




           reasonable manner, even though the Policy provided coverage for wind and hail losses such

           as those suffered by Plaintiff.

     25.   To date, Plaintiff has received $0.00 for damage to Plaintiffs Property.

     26.   Central Mutual has not cmmnunicated that any future settlements or payments would be

           forthcoming to pay for the entire loss covered under the Policy, nor did it provide any

           explanation for failing to settle Plaintiffs claim properly.

     27.   As stated above, Defendants failed to assess the claint thoroughly. Based upon Defendants'

           grossly unreasonable, intentional, and reckless fhilure to investigate and adjust the claim

           properly, Central Mutual failed to provide full coverage due under the Policy.

     28.   As a result of Central Mutual's failure to provide full coverage, along with Central

           Mutual's delay tactics to avoid reasonable payment to Plaintiff, Plaintiff has suffered

           damages.

     29.   Central Mutual failed to perfonn its contractual duties to Plaintiff under the terms of the

           Policy. Specifically, Central Mutual refused to pay the full proceeds ofthe Policy, although

           due demand was made for an amount sufllcient to cover repairs to the damaged Property,

           and all conditions precedent to recover upon the Policy were accomplished by Plaintiff.

     30.   Defendants' misrepresentations, unreasonable delays, and continued denials constitute a

           breach of the statutory obligations under Chapters 541 and 542 of the Texas Insurance

           Code. Tints, the breach of the statutory duties constitutes the foundation of a breach of the

           insurance contract between Central Mutual and Plaintiff.

     31.   Defendants' conduct constitutes a violation ofthe Texas Insurance Code, Unfair Settlement

           Practices. TEX. INS. CODE §541.060(a)(l). Defendants have not attempted to settle



                                                     7
Case 6:17-cv-00168-RWS Document 2 Filed 03/20/17 Page 8 of 27 PageID #: 54




           Plaintiffs claim in a fair manner, even though Defendants were aware of their liability to

           Plaintiff under the Policy. Specifically, Defendants have failed to timely pay Plaintiffs

           coverage due under the Policy.

     32.   Defendants' conduct constitutes a violation of the Texas Insurance Code, Unfair Settlement

           Practices. TEX. INS. CODE §541.060(a)(2)(A). Defendants failed to provide Plaintiff a

           reasonable explanation for not making the full payment under the terms of the Policy.

     33.   Defendants' conduct constitutes a violation of the Texas Insurance Code, Unfair Settlement

           Practices. TEX. INS. CODE §541.060(a)(4). Defendants refused to provide full coverage

           due to Plaintiff under the tenus of the Policy. Specifically, Central Mutual, through its

           agents, servants, and representatives, namely Martin and John T. Parker, perfotmed an

           outcome-oriented investigation of Plaintiffs claim, which resulted in a biased, unfair, and

           inequitable evaluation of Plaintiffs losses on the Property.

     34.   Defendants' conduct constitutes a violation of the Texas Insurance Code, Prompt Payment

           of Claims. TEX. INS. CODE §542.055. Defendants failed to reasonably accept or deny

           Plaintiffs full claim within the statutorily mandated time after receiving all necessary

           information.

     35.   Defendants' conduct constitutes a violation of the Texas Insurance Code, Prompt Payment

           of Claims. TEX. INS. CODE §542.056. Defendants failed to meet their obligations under

           the Texas Insurance Code regarding timely payment of the claim. Specifically, Defendants

           have delayed payment of Plaintiff's claim longer than allowed, and Plaintiff has not

           received full payment for the claim.

     36.   Defendants' wrongful acts and omissions forced Plaintiff to retain the professional services



                                                    8
Case 6:17-cv-00168-RWS Document 2 Filed 03/20/17 Page 9 of 27 PageID #: 55




           of the attorneys and law firm representing Plaintiff with respect to these causes of action.

                          CAUSES OF ACTION AGAINST DEFENDANT
                          CENTRAL MUTUAL INSURANCE COMPANY

                                      BREACH OF CONTRACT

     37.   All allegations above are incorporated herein.

     38.   Central Mutual is liable to Plaintiff for intentional violations of the Texas Insurance Code,

           and intentional breach of the common-law duty of good faith and fair dealing. It follows,

           then, that the breach of the statutory duties constitutes the foundation of an intentional

           breach of the insurance contract between Central Mutual and Plaintiff.

     39.   Central Mutual's failure and/or refusal to pay adequate coverage as obligated under the

           tem1s of the Policy, and under the laws of the State of Texas, constitutes a breach of the

           insurance contract with Plaintiff.

                 NONCOMPLIANCE WITH THE TEXAS INSURANCE CODE:
                        UNFAIR SETTLEMENT PRACTICES

     40.   All allegations above are incorporated herein.

     41.   Central Mutual's conduct constitutes multiple violations of the Texas Insurance Code,

           Unfair Settlement Practices. TEX. INS. CODE §541.060(a). All violations under this

           article are actionable by TEX. INS. CODE §541.151.

     42.   Central Mutual's unfair settlement practice of misrepresenting to Plaintiff material facts

           relating to coverage constitutes an unfair method of competition and a deceptive act or

           practice in the business of insurance. TEX. INS. CODE §54l.060(a)(l).

     43.   Central Mutual's unfair settlement practice of failing to attempt in good faith to make a

           prompt, fair, and equitable settlement of the claim, even though liability under the Policy



                                                     9
Case 6:17-cv-00168-RWS Document 2 Filed 03/20/17 Page 10 of 27 PageID #: 56




           was reasonably clear, constitutes an unfair method of competition and a deceptive act or

           practice in the business of insurance, TEX. INS. CODE §541.060(a)(2)(A).

    44.    Central Mutual's unfair settlement practice of failing to provide Plaintiff a prompt and

           reasonable e.xplanation of the basis in the Policy, in relation to the facts or applicable law,

           for denial ofthe claim, constitutes an unfair method of competition and a deceptive act or

           practice in the business of insurance. TEX. INS. CODE §541.060(a)(3).

    45.    Central Mutual's unfair settlement practice of failing within a reasonable time to afftnn or

           deny coverage of the claim to Plaintiff constitutes an unfair method of competition and a

           deceptive act or practice in the business of insurance. TEX. INS. CODE §541.060(a)(4).

    46.    Central Mutual's unt1ir settlement practice of refusing to pay Plaintiffs claim without

           conducting a reasonable investigation constitutes an unfair method of competition and a

           deceptive act or practice in the business of insurance. TEX. INS. CODE §541 .060(a)(7).

                 NONCOMPLIANCE WITH THE TEXAS INSURANCE CODE:
                       THE PROMPT PAYMENT OF CLAIMS

    47.    All allegations above are incorporated herein.

    48.    Central Mutual's conduct constitutes multiple violations of the Texas Insurance Code,

           Prompt Payment of Claims. All violations made under this article are actionable by TEX.

           INS. CODE §542.060.

    49.    Central Mutual's failure to notify Plaintiff in writing of its acceptance or rejection of the

           full claim within the applicable time constraints constitutes a non-prompt payment in

           violation of TEX. INS. CODE §542.056.

     50.   Central Mutual's delay in paying Plaintiffs claim following receipt of all items,

           statements, and forms reasonably requested and required, for longer than the amount of


                                                     10
Case 6:17-cv-00168-RWS Document 2 Filed 03/20/17 Page 11 of 27 PageID #: 57




           time provided, constitutes a non-prompt payment of the claim.           TEX. INS. CODE

           §542.058.

                BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING

     51.   All allegations above are incorporated herein.

     52.   Central Mutual's conduct constitutes a breach of the common-law duty of good faith and

           fair dealing owed to an insured in insurance contracts.

     53.   Central Mutual's failure to adequately and reasonably investigate and evaluate Plaintiffs

           claim, although, at that time, Central Mutual knew or should have known by the exercise

           of reasonable diligence that liability was reasonably clear, constitutes a breach of the duty

           of good faith and fair dealing.

                                         DTPA VIOLATIONS

     54.   All allegations above are incorporated herein.

     55.   Central Mutual's conduct constitutes multiple violations of the Texas Deceptive Trade

           Practices Act ("DTPA"}, TEX. BUS. & COM. CODE 17.41-63. Plaintiff is a consumer

           of goods and services provided by Central Mutual pursuant to the DTP A. Plaintiff has met

           all conditions precedent to bringing this cause of action against Central Mutual.

           Specifically, Central Mutual's violations of the DTPA include, without limitation, the

           following matters:

           A.     By its acts, omissions, failures, and conduct, Central Mutual has violated sections

                   17.46(b)(2}, (5), (7), (9), (12), (20) and (24) of the DTPA. Central Mutual's

                  violations include witltout limitation, (1) umeasonable delays in the investigation,

                  adjustment, and resolution of Plaintiff's claim, (2) failure to give Plaintiff the



                                                    II
Case 6:17-cv-00168-RWS Document 2 Filed 03/20/17 Page 12 of 27 PageID #: 58




                benefit of the doubt, and (3) failme to pay for the proper repair of Plaintiffs

                property when liability has become reasonably clear, which gives Plaintiff the right

                to recover under section 17.46(b)(2).

          B.    Central Mutual represented to Plaintiff that the Policy and Central Mutual's

                adjusting and investigative services had characteristics or benefits that they did not

                possess, which gives Plaintiff the right to recover under section l7.46(b)(5) of the

                DTPA.

          C.    Central Mutual also represented to Plaintiff that the Policy and Central Mutual's

                adjusting services were of a particular standard, quality, or grade when they were

                of another, in violation of section 17 .46(b)(7) of the DTP A.

          D.    Fmihennore, Central Mutual advertised the Policy and adjusting services with the

                intent not to sell them as advertised, in violation of section l7.46(b)(9) of the

                DTPA.

          E.    Central Mutual breached an express warranty that the damages caused by wind and

                hail would be covered under the Policy. This breach entitles Plaintiff to recover

                under sections 17.46(b)(l2) and (20) and l7.50(a)(2) of the DTPA.

           F.   Central Mutual's actions are unconscionable in that Central Mutual took advantage

                of Plaintiffs lack of knowledge, ability, and experience to a grossly unfair degree.

                Central Mutual's unconscionable conduct gives Plaintiff a right to relief under

                section l7.50(a)(3) of the DTPA; and




                                                  12
Case 6:17-cv-00168-RWS Document 2 Filed 03/20/17 Page 13 of 27 PageID #: 59




           G.      Central Mutual's conduct, acts, omissions, and failures, as described in this petition,

                   are unfair practices in the business of insurance in violation of section 17.50(a)(4)

                   of the DTPA.

     56.   Each of the above-described acts, omissions, and failures of Central Mutual is a producing

           cause of Plaintiffs damages. All of the above-described acts, omissions, and failures were

           committed "knowingly" and "intentionally," as defined by the Texas Deceptive Trade

           Practices Act.

                                                 FRAUD

     57.   All allegations above are incorporated herein.

     58.   Central Mutual is liable to Plaintiff for couunon law fraud.

     59.   Each and every misrepresentation described above concemed material facts that absent

           such representations, Plaintiff would not have acted as Plaintiff did, and Central Mutual

           knew its representations were false or made recklessly without any knowledge of their truth

           as a positive assertion.

     60.   Central Mutual made the statements intending that Plaintiff act upon them. Plaintiff then

           acted in reliance upon the statements, thereby causing Plaintiff to suffer it\iury constituting

           common law fraud.

                                         NEGLIGENT HIRING

     61.   Central Mutual has a basic duty as an employer who retains services of another to use

           reasonable care in investigating the background of that individual or third party adjusting

           company for fitness for the position, to remain knowledgeable of that fitness, and is liable

           if another person suffers damages because of a lack of fitness. Defendant Central Mutual



                                                     13
Case 6:17-cv-00168-RWS Document 2 Filed 03/20/17 Page 14 of 27 PageID #: 60




           owed a duty to Plaintiff and that duty was breached.

     62.   Central Mutual was negligent in that it knew or should have known that its agents were

           unfit to handle claims on behalf of Central Mutual. Specifically, Central Mutual should

           have known its agents were incapable of perfonning the tasks necessary to reasonably

           inspect property damage.

     63.   Central Mutual tailed to investigate, screen or supervise the agents listed above, who

           constitute the proximate cause of the damages suffered by Plaintiff in tltis action,

               CAUSES OF ACTION AGAINST DEFENDANT AARON MARTIN

                 NONCOMPLIANCE WITH THE TEXAS INSURANCE CODE:
                        UNFAIR SETTLEMENT PRACTICES

     64.   All allegations above are incorporated herein.

     65.   Martin's conduct constitutes multiple violations of the Texas Insurance Code, Unfair Claim

           Settlement Practices Act. TEX. INS. CODE §541.060(a).

     66.   Martin is individually liable for his unfair and deceptive acts, irrespective of the fact that

           he was acting on behalf of Central Mutual, because Martin is a "person," as defined by

           TEX. INS. CODE §541 .002(2).

     67.   Martin knowingly underestimated the amount of damage to the Property. As such, Martin

           failed to adopt and implement reasonable standards for the investigation of the claim

           arising under the Policy. TEX. INS. CODE §542.003(3).

     68.   Furthermore, Martin did not attempt in good faith to effect a fair, prompt, and equitable

           settlement of the claim. TEX. INS. CODE §542.003(4).

     69.   Martin's unfair settlement practice of failing to provide Plaintiff a prompt and reasonable

           explanation of the basis in the Policy, in relation to the facts or applicable law, for denial


                                                     14
Case 6:17-cv-00168-RWS Document 2 Filed 03/20/17 Page 15 of 27 PageID #: 61




            of the claim, also constitutes an unfair method of competition and an unfair and deceptive

            act or practice. TEX. INS. CODE §541.060(a)(3).

     70.    Martin's unfair settlement practice of failing to attempt in good faith to make a prompt,

            fair, and equitable settlement of the claim, even though liability under the Policy was

            reasonably clear, constitutes an unfair method of competition and a deceptive act or

            practice in the business of insurance. TEX. INS. CODE §541.060(a)(2)(A).

                                          DTPA VIOLATIONS

     7 I.   All allegations above are incorporated herein.

     72.    Martin's conduct constitutes multiple violations of the Texas Deceptive Trade Practices

            Act ("DTPA"), TEX. BUS. & COM. CODE 17.41--{i3. Plaintiff is a consumer of goods

            and services provided by Martin pursuant to the DTP A. Plaintiff has met all conditions

            precedent to bringing tllis cause of action against Martin. Specifically, Martin's violations

            of the DTP A include the following matters:

            A.     By this Defendant's acts, omissions, failures, and conduct, Martin has violated

                   sections 17.46(b)(2), (5), and (7) of the DTPA. Martin's violations include, (l)

                   failure to give Plaintiff the benefit of the doubt, and (2) failure to write up an

                   estimate reflecting the proper repair of Plaintiffs Propet1y when liability has

                   become reasonably clear, which gives Plaintiff the right to recover under section

                    17.46(b)(2).

            B.     Martin represented to Plaintiff that the Policy and his adjusting and investigative

                   services had charactetistics or benefits they did not possess, which gives Plaintiff

                    the light to recover under section l7.46(b)(5) of the DTPA.



                                                     15
Case 6:17-cv-00168-RWS Document 2 Filed 03/20/17 Page 16 of 27 PageID #: 62




          C.      Martin represented to Plaintiff that the Policy and his adjusting services were of a

                  particular standard, quality, or grade when they were of another, in violation of

                  section l7.46(b)(7) of the DTPA.

          D.      Martin's actions are unconscionable in that Martin took advantage of Plaintiffs

                  lack of knowledge, ability, and experience to a grossly unfair degree. Martin's

                  unconscionable conduct gives Plaintiff a right to relief under section 17.50(a)(3) of

                  the DTPA; and

          E.      Martin's conduct, acts, omissions, and failures, as described in this petition, are

                  unfair practices in the business of insurance in violation of section 17.50(a)(4) of

                  the DTPA.

    73.   Each of Martin's above-described acts, omissions, and failures is a producing cause of

          Plaintiffs damages. All acts, omissions, and failures were committed "knowingly" and

          "intentionally" by Martin, as defined by the Texas Deceptive Trade Practices Act. TEX.

          BUS. & COM. CODE 17.45.

                                                FRAUD

    74.   All allegations above are incorporated herein.

    75.   Central Mutual assigned or hired Martin to adjust the claim.

               a. Martin had a vested interest in undervaluing the claims assigned to him by Central

                  Mutual in order to maintain his employment or gain future employment. The

                  disparity in the number of damaged items in his report/assessment compared to that

                  of Plaintiffs is evidence of fraud on the part of Martin.

               b. Martin made misrepresentations to Plaintiff during his inspection. Martin used his



                                                    16
Case 6:17-cv-00168-RWS Document 2 Filed 03/20/17 Page 17 of 27 PageID #: 63




                  expertise to fabricate plausible explanations for why visible damage to Plaintiff's

                  Property would not be covered under the policy. Such misrepresentations include

                  damage to the Property owing from wear and tear and damage of a type not

                  consistent with the type of claim that was made.

                                            NEGLIGENCE

     76.   All allegations above are incorporated herein.

     77.   Martin was negligent in his actions with regard to his adjustment of Plaintiffs claim and

           violated the standard of care for an insurance adjuster licensed in the state ofTexas. Those

           failures include one or more of the following acts or omissions:

              a. Failure to conduct a reasonable inspection;

              b. Failure to include covered damage that would be discovered as a result of

                  reasonable inspection;

              c. Failure to identify the proper cause and scope of the damage to Plaintiff's Property;

              d. Failure to identifY the cost of proper repairs to Plaintiff's Property; and

              e. Failure to conununicate to Plaintiff the reasons for specif1c determinations made

                  regarding the inclusion or exclusion of damage to Plaintiff's Property.

     78.   Martin's acts and/or omissions constitute negligence. His conduct was therefore a

           proximate cause of the damages sustained by Plaintiff.

     79.   At all relevant times, Martin was an agent or employee of Defendant Central Mutual.

     80.   Martin's unreasonable inspection was performed within the course and scope of his duties

           with Defendant Central Mutual. Therefore, Central Mutual is also liable for the negligence

           of Martin through the doctrine of respondeat superior.



                                                    17
Case 6:17-cv-00168-RWS Document 2 Filed 03/20/17 Page 18 of 27 PageID #: 64




                                         GROSS NEGLIGENCE

     81.     All allegations above are incmporated herein.

     82.     Martin's actions or omissions constitute gross negligence as defined in TEX. ClV. P. &

             REM. CODE§ 41.001 (ll)(A) and (B):

                 a. Martin's actions, when viewed objectively from the standpoint of the actor at the

                    time of their occtmence involves an extreme degree of risk, considering the

                    probability and magnitude of potential hamt to Plaintiff; and

                 b. Martin had actual, subjective awareness of the risk involved but nevertheless

                    proceeded with conscious indifference to the rights, safety, and/or welfare of

                    Plaintiff.

     83.     Martin intentionally misrepresented the scope and amount of damages prepared for

             Plaintiffs Property on behalf of Central Mutual. His assessment was to such an extreme

             degree below what another licensed adjuster would have done in this situation; it was also

             in complete disregard for the risk and harm Plaintiff would suffer if the actual damages to

             the Property were allowed to persist unrepaired.

           CAUSES OF ACTION AGAINST DEFENDANT JHSC ENTERPRISES, LLC D/B/A
                   JOHN T. PARKER CLAIMS OR PARKER & ASSOCIATES

                   NONCOMPLIANCE WITH THE TEXAS INSURANCE CODE:
                          UNFAIR SETTLEMENT PRACTICES

     84.     All allegations above arc incorporated herein.

     85.     John T. Parker and/or its agents' conduct constitutes multiple violations of the Texas

              Insurance Code, Unfair Claim Settlement Practices Act. TEX. INS. CODE §541.060(a).




                                                     18
Case 6:17-cv-00168-RWS Document 2 Filed 03/20/17 Page 19 of 27 PageID #: 65




     86.   John T. Parker and/or its agents knowingly underestimated the amount of damage to the

           Property.   As such, John T. Parker and/or its agents failed to adopt and implement

           reasonable standards for the investigation of the claim arising under the Policy. TEX. INS.

           CODE §542.003(3).

     87.   Furthermore, John T. Parker and/or its agents did not attempt in good faith to effect a fair,

           prompt, and equitable settlement of the claim. TEX. INS. CODE §542.003(4).

     88.   John T. Parker and or its agents' unfair settlement practice of failing to provide Plaintiff a

           prompt and reasonable explanation of the basis in the Policy, in relation to the facts or

           applicable law, for denial of the claim, also constitutes an unfair method of competition

           and an unfair and deceptive act or practice. TEX. INS. CODE §54l.060(a)(3).

     89.   Jolm T. Parker and/or its agents' unfair settlement practice of failing to attempt in good

           faith to make a prompt, fair, and equitable settlement of the claim, even though liability

           under the Policy was reasonably clear, constitutes an unfair method of competition and a

           deceptive act or practice in the business of insurance.                TEX. INS.       CODE

           §541.060(a)(2)(A).

                                         DTPA VIOLATIONS

     90.   All allegations above are incorporated herein.

     91.   John T. Parker and/or its agents' conduct constitutes multiple violations of the Texas

           Deceptive Trade Practices Act ("DTPA"), TEX. BUS. & COM. CODE 17.41-63. Plaintiff

           is a consumer of goods and services provided by John T. Parker pursuant to the DTPA.

           Plaintiff has met all conditions precedent to bringing this cause of action against Jolm T.




                                                    19
Case 6:17-cv-00168-RWS Document 2 Filed 03/20/17 Page 20 of 27 PageID #: 66




          Parker. Specifically, John T. Parker's violations of the DTPA include the following

          matters:

          F.     By this Defendant's acts, omissions, failures, and conduct, John T. Parker has

                 violated sections 17.46(b)(2), (5), and (7) ofthe DTPA. John T. Parker's violations

                 include, ( 1) failure to give Plaintiff the benefit oft he doubt, and (2) failure to write

                 up an estimate reflecting the proper repair of Plaintiffs Property when liability has

                 become reasonably clear, which gives Plaintiff the right to recover under section

                 17 .46(b)(2).

          G.     John T. Parker represented to Plaintiff that the Policy and its adjusting and

                 investigative services had characteristics or benefits they did not possess, which

                 gives Plaintiff the right to recover under section 17.46(b)(5) of the DTPA.

          H.     John T. Parker represented to Plaintiff that the Policy and its adjusting services were

                 of a particular standard, quality, or grade when they were of another, in violation

                 of section 17.46(b)(7) of the DTPA.

          I.     John T. Parker's actions are unconscionable in that John T. Parker took advantage

                 of Plaintiffs lack of knowledge, ability, and experience to a grossly unfair degree.

                 John T. Parker's unconscionable conduct gives Plaintiff a right to relief under

                 section l7.50(a)(3) of the DTPA; and

          J.     John T. Parker's conduct, acts, omissions, and failures, as described in this petition,

                 are unfair practices in the business of insurance in violation of section 17.50(a)(4)

                 of the DTPA.




                                                    20
Case 6:17-cv-00168-RWS Document 2 Filed 03/20/17 Page 21 of 27 PageID #: 67




    92.   Each of John T. Parker's above-described acts, omissions, and failures is a producing cause

          of Plaintiffs damages. All acts, omissions, and failures were committed "knowingly" and

          "intentionally" by John T. Parker, as defined by the Texas Deceptive Trade Practices Act.

          TEX. BUS. & COM. CODE 17.45.

                                               FRAUD

    93.   All allegations above are incorporated herein.

    94.   Central Mutual assigned or hired John T. Parker to adjust the claim.

             a. John T. Parker and/or its agents had a vested interest in undervaluing the claims

                 assigned to them by Central Mutual in order to maintain their employment or gain

                 future employment. The disparity in the number of damaged items in their agents'

                 reports/assessments compared to that of Plaintiffs is evidence of fraud on the part

                 of John T. Parker.

             b. John T. Parker and/or its agents or employees made misrepresentations to Plaintiff

                 during their inspections. Jolm T. Parker and/or its agents or employees used their

                 expe11ise to fabricate plausible explanations for why visible damage to Plaintiff's

                 Property would not be covered under the policy. Such misrepresentations include

                 damage to the Property owing from wear and tear and damage of a type not

                 consistent with the type of claim that was made.

                                           NEGLIGENCE

    95.   All allegations above are incorporated herein.

    96.   John T. Parker and/or its agents or employees were negligent in their actions with regard

          to their adjustment of Plaintiffs claim and violated the standard of care for an ins\ll'ancc



                                                  21
Case 6:17-cv-00168-RWS Document 2 Filed 03/20/17 Page 22 of 27 PageID #: 68




            adjuster licensed in the state of Texas. Those failures include one or more of the following

            acts or omissions:

                a. Failure to conduct a reasonable inspection;

                b. Failure to include covered damage that would be discovered as a result of a

                    reasonable inspection;

                c. Failure to identify the proper cause and scope of the damage to Plaintiffs Property;

                d. Failure to identify the cost of proper repairs to Plaintiffs Property; and

                e. Failure to communicate to Plaintiff the reasons for specific determinations made

                    regarding the inclusion or exclusion of damage to Plaintiff's Property.

    97.     John T. Parker and/or its agents' or employees' acts and/or omissions constitute

            negligence. Their conduct was therefore a proximate cause of the damages sustained by

            Plaintiff.

    98.     At all relevant times, John T. Parker and its agents or employees were agents or employees

            of Defendant Central Mutual.

    99.     Jolm T. Parker and/or its agents' unreasonable inspections were perfonned within the

            course and scope of their duties with Defendant Central Mutual. Therefore, Central Mutual

            is also liable for the negligence of Jolm T. Parker and its agents/employees through the

            doctrine of respondeat superior.

                                         GROSS NEGLIGENCE

    I 00.   All allegations above are incorporated herein.

    101.    John T. Parker and/or its agents' or employees' actions or omissions constitute gross

            negligence as defined in TEX. CIV. P. & REM. CODE§ 41.001 (ll)(A) and (B):



                                                     22
Case 6:17-cv-00168-RWS Document 2 Filed 03/20/17 Page 23 of 27 PageID #: 69




                 a. John T. Parker and/or its agents' or employees' actions, when viewed objectively

                     from the standpoint of the actor at the time of their occurrence involves an extreme

                     degree of risk, considering the probability and magnitude of potential hann to

                     Plaintiff; and

                 b. John T. Parker and/or its agents or employees had actual, subjective awareness of

                     the risk involved, but nevertheless proceeded with a conscious indifference to the

                     rights, safety, and/or welfare of Plaintiff.

     102.    John T. Parker and/or its agents or employees intentionally misrepresented the scope and

             amount of damages prepared for Plaintiffs Property on behalf of Central Mutual. Their

             estimates were to such an extreme degree below what another licensed adjuster would have

             done in this situation; it was also in complete disregard for the risk and hann Plaintiff would

             suffer if the actual damages to the Property were allowed to persist unrepaired.

                                                KNOWLEDGE

     103.    Defendants made each of the acts described above, together and singularly, "knowingly,"

             as defmed in the Texas lnsumnce Code, and each was a producing cause of Plaintiffs

             damages described herein.

                                         WAIVER AND ESTOPPEL

     I 04.   Defendants waived and are estopped from asserting any coverage defenses, conditions,

             exclusions, or exceptions to coverage not contained in any reservation of rights letter to

             Plaintiff.




                                                        23
Case 6:17-cv-00168-RWS Document 2 Filed 03/20/17 Page 24 of 27 PageID #: 70




                                                 DAMAGES

     I 05.   Since the claim was made, Central Mutual has not properly compensated Plaintiff for all

             necessary repairs required to be made, which are covered under the Policy. This has caused

             undue hardship and burden to Plaintiff. These damages are a direct result of Defendants'

             mishandling of Plaintiffs claim in violation of the laws set forth above.

     I 06.   Defendants made the above and other false representations to Plaintiff, either knowingly

             or recklessly, as a positive assertion, without knowledge of the truth. Defendants made

             these false misrepresentations with the intent that Plaintiff act in accordance with the

             misrepresentations. Plaintiff then relied on these misrepresentations, including but not

             limited to those regarding coverage and the cause and scope of damage. Plaintiff suffered

             damages as a result.

     107.    Plaintiff would show that all of the aforementioned acts, taken together or singularly,

             constitute the producing causes of damages sustained. The acts, omissions, failures, and

             conduct of Defendants have caused Plaintiffs damages, which include, without limitation,

             costs for all necessary repairs required to be made to Plaintiffs Property, and any

             investigative and engineering fees incurred.

     108.    For breach of contract, Plaintiff is entitled to regain the benefit of Plaintiffs bargain, which

             is the amount of Plaintiffs claim, consequential damages, together with attorney's fees.

     l 09.   For noncompliance with the DTPA and Texas Insurance Code, Unfair Settlement Practices,

             Plaintiff is entitled to actual damages, which include the loss of the benefits owed pursuant

             to the Policy, couti costs, and attorney's fees. For knowing and intentional conduct of the




                                                       24
Case 6:17-cv-00168-RWS Document 2 Filed 03/20/17 Page 25 of 27 PageID #: 71




            acts described above, Plaintiff asks for three (3) times Plaintiffs actual damages. TEX.

            INS. CODE §541.152 and TEX. BUS. & COM. CODE 17.50(B)(l).

     110.   For noncompliance with Texas Insurance Code, Prompt Payment of Claims, Plaintiff is

            entitled to the amount of Plaintiffs claim, plus an eighteen percent (18%) per annum

            penalty on that claim, as damages, as well as pre-judgment interest and reasonable

            attorney's fees. TEX. INS. CODE §542.060.

     Ill.   For breach of the common-law duty of good faith and fair dealing, Plaintiff is entitled to

            compensatory damages, including all fonns of loss resulting from Defendants' breach of

            duty, such as additional costs, economic hardship, losses due to nonpayment of money

            Central Mutual owed, and exemplary damages.

     112.   Defendants' breach of the common law duty of good faith and fair dealing was committed

            intentionally, with a conscious indifference to Plaintiffs lights and welfare, and with

            "malice," as that term is defined in Chapter 41 of the Texas Civil Practices and Remedies

            Code. These violations are the type of conduct which the State of Texas protects its citizens

            against by the imposition of exemplary damages. Therefore, Plaintiff seeks the recovery

            of exemplary damages in an amount detem1ined by the fmder of fact sufficient to punish

            Defendants for their wrongful conduct and to set an example to deter Defendants and others

            from committing similar acts in the future.

     113.   For fraud, Plaintiff is entitled to recover actual and exemplary damages for knowingly

            fraudulent and malicious representations, along with attorney's fees, interest, and court

            costs.




                                                     25
Case 6:17-cv-00168-RWS Document 2 Filed 03/20/17 Page 26 of 27 PageID #: 72




     114.   For the prosecution and collection oflhis claim, Plaintiff has been compelled to engage the

            services of the attorneys subscribed to this pleading. Therefore, under Chapter 38 of the

            Texas Civil Practices and Remedies Code, sections 541 and 542 of the Texas Insurance

            Code, and section 17.50 of the DTPA, Plaintiff is entitled to recover a sum tor the

            reasonable and necessary services ofPlaintiffs attorneys in the preparation and trial of this

            action, including any appeals to the Court of Appeals and/or the Supreme Court of Texas.

     115.   As required by Rule 47(b) of the Texas Rules of Civil Procedure, Plaintiffs counsel states

            that the damages sought are in an amount within the jurisdictional limits of tltis Court. As

            required by Rule 47(c)(5) of the Texas Rules of Civil Procedure, Plaintiffs counsel states that

            Plaintiff seeks only monetary relief of no less tlmn $1,000,000.00. A jury will ultimately

            detennine the monetary relief actually awarded, however. Plaintiff also seeks pre-judgment

            and post-judgment interest at the highest legal rate.

                                     REQUESTS FOR DISCLOSURE

     116.   Under Texas Rules of Civil Procedure 190 and 194, Plaintiff requests that Defendants

            disclose, within fifty (50) days from the date tltis request is served, the information or material

            described in Rules 190.2(b)(6) and 194.2.

                                               JURY DEMAND

     117.   Plaintiff hereby requests a jury trial for all causes of action alleged herein, tried before a

            jury consisting of citizens residing in Smith County, Texas. Plaintiff hereby tenders the

            appropriate jury fee.




                                                        26
Case 6:17-cv-00168-RWS Document 2 Filed 03/20/17 Page 27 of 27 PageID #: 73




                                                  PRAYER

           Plaintiff prays that Defendants, Central Mutual Insurance Company, JHSC Enterprises,

    LLC D/B/A John T. Parker Claims or Parker & Associates, and Aaron Martin be cited and served

    to appear, and that upon trial hereof, Plaintiff, Holly Tree Country Club, LLC, has and recovers

    from Defendants, Central Mutual Insurance Company, JHSC Enterprises, LLC D/B/A Jolm T.

    Parker Claims or Parker & Associates, and Aaron Mat1in, such sums as would reasonably and

    justly compensate Plaintiff in accordance with the ntles of law and procedure, as to actual,

    consequential, and treble damages under the Texas Insurance Code and Texas Deceptive Trade

    Practices Act, and all punitive, additional, and exemplary damages, as may be found. In addition,

    Plaintiff requests the award of attorney's fees for the trial and any appeal of this case, for all costs

    of Court expended on Plaintiffs behalf, for pre-judgment and post-judgment interest as allowed

    by law; and for any other and further relief, at law or in equity, to which Plaintiff, Holly Tree

    Country Club, LLC, may show Plaintiff is justly entitled.

                                                            Respectfully submitted,

                                                           CHAD T WtLSON LAW FIRM PLLC

                                                            By: /s/ Chad T. Wilson

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                                                      27
